Case: 2:21-cv-00072-DLB-CJS Doc #: 33 Filed: 11/30/22 Page: 1 of 8 - Page ID#: 256




                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           EASTERN DIVISION AT COVINGTON
                                CASE NO. 2:21-CV-00072

 JEFFREY CUNDIFF                                      )                               PLAINTIFF
                                                      )
                                                      )
 V.                                                   )
                                                      )
 DOUGLAS ULLRICH, et al.,                             )                            DEFENDANTS


          PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT



       Plaintiff, Jeffrey Cundiff through counsel, hereby moves for summary judgment against

Defendant in relation to his Fourth Amendment Unlawful Search Claims.

                                        INTRODUCTION.

       On June 8, 2020, Defendant Ullrich pulled over Plaintiff for running a stop sign. Through

the course of the traffic stop, Defendant Ullrich escalated the stop to include a partial strip search

and body cavity search of Plaintiff. The basis for the “probable cause” to perform the search was

an “unrecoverable” amount of marijuana shake and a single marijuana seed found in his

passenger’s purse. While Plaintiff testified that Defendant penetrated Plaintiff’s rectum during the

course of the body cavity search, this motion is based on Defendant Ullrich’s testimony regarding

the events leading up to the search and the search itself, as Defendant Ullrich denies penetrating

or touching Plaintiff’s rectum.

       Defendant Ullrich testified that he performed a search for contraband on Plaintiff’s person

after the location of the shake and single seed. Defendant Ullrich reached his gloved hands under

the underwear of Plaintiff and used the back of his straight hand to search Plaintiff’s butt-crack

from top to bottom. (R. 30, Page ID# 146-150). Defendant Ullrich also testified that he then

                                                  1
Case: 2:21-cv-00072-DLB-CJS Doc #: 33 Filed: 11/30/22 Page: 2 of 8 - Page ID#: 257




reached around the front of Plaintiff and ran his hand under Plaintiff’s underwear, along the seam

between Plaintiff’s leg and groin, searched behind Plaintiff’s penis and scrotum, and back up the

seam of the other leg. Id. There is no doubt that in the course of this search, Defendant Ullrich

moved Plaintiff’s penis and scrotum to check behind them. (R. 30, Page ID#148).

        After finding no evidence of contraband on Plaintiff, Defendant Ullrich stated. “he won the

game of ‘I want it more.’ It’s far enough in him that I can’t find it.” (R. 30, Page ID# 149).

Defendant Ullrich then completed his citation against Plaintiff for running a stop sign and released

him from custody. Plaintiff spent roughly thirty minutes in handcuffs while the searches were

performed and was ultimately note arrested for the running a stop sign offense.

                                 UNCONTESTED FACTS

        On July 8, 2020, just after 2:00 a.m., Defendant Ullrich initiated a traffic stop of Plaintiff

for running a stop sign. (R. 28-2, Uniform Citation, Page ID# 101). Defendant got out of his

cruiser, walked to the passenger side of Plaintiff’s vehicle, and instructed Plaintiff to roll the car’s

windows down and turn the car off. (R. 28-1, Ullrich Body Worn Camera Video, Conventionally

Filed, at 6:13:41 to 6:13:51; R. 28-3, Ullrich Body Worn Camera Video, Conventionally Filed, at

6:13:23 to 6:13:58). During the course of the stop, Defendant asked Plaintiff’s passenger, Sprague,

to step out of the vehicle. (R. 28-3, at 6:16:15 to 6:16:28). Defendant then asked Plaintiff to step

out of the vehicle, cuffed him, and patted him down. (R. 28-3, at 6:18:10 to 6:19:18).

        During this time, Officer Mark Richardson arrived and performed a search using his dog

aka drug detection canine aka K9. (R. 32, Richardson Depo., Page ID# 250). Officer Richardson

interpreted his K9’s actions as having alerted to the presence of narcotics. (R. 32, Page ID# 241-

243). Allegedly, either marijuana shake, or a marijuana seed, or both, were found by Officer

Richardson and Officer Denny, but not preserved as evidence, although Defendant Ullrich never



                                                   2
Case: 2:21-cv-00072-DLB-CJS Doc #: 33 Filed: 11/30/22 Page: 3 of 8 - Page ID#: 258




saw either. (R. 30, Page ID#140-141). Defendant then began a search of Plaintiff. (R. 30, Page ID#

142).

        Defendant told Plaintiff to spread his feet apart so that if anything was concealed between

his thighs, it would fall to the ground. (R. 30, Page ID# 144). During the search, Plaintiff’s butt

cheeks were clearly visible on the body worn camera. (R. 28-3, at 6:41:26). Defendant insists that

Plaintiff is “squeezing his ass cheeks together like [he] was hiding something.” (R. 28-3, at 6:41:26

to 6:41:50). Plaintiff insists that he is not hiding anything inside of himself. (R. 28-3, at 6:42:30).

Officer Ullrich performed a search under Plaintiff’s underwear on his back side, (R. 30, Page ID#

146). Officer Ullrich also searched the front side of Plaintiff under his underwear. (R. 30, Page

ID# 148). Defendant Ullrich reached his gloved hands under the underwear of Plaintiff and used

the back of his straight hand to search Plaintiff’s butt-crack from top to bottom. (R. 30, Page ID#

146-150). Defendant Ullrich denies ever making contact with Plaintiff’s rectum with his gloved

hand, but does not deny that he ran his hand down Plaintiff’s butt-cheeks from top to bottom. (R.

30, Page ID# 146-47). During this search, Defendant was looking into Plaintiff’s underwear while

he was pulling Plaintiff’s underwear out. (R. 30, Page ID# 147; R. 28-3, 6:41:26 to 6:42:18).

        Defendant Ullrich also testified that he then reached around the front of Plaintiff and ran

his hand under Plaintiff’s underwear, along the seam between Plaintiff’s leg and groin, searched

behind Plaintiff’s penis and scrotum, and back up the seam of the other leg. (R. 30, Page ID# 146-

150). There is no doubt that in the course of this search, Defendant Ullrich moved Plaintiff’s penis

and scrotum to check behind them. (R. 30, Page ID#148). In his normal practice he goes along the

seam between the leg and groin, move the scrotum and penis out of the way to check underneath

them, and come up the other side. (R. 30, Page ID# 148). In performing the search behind the

scrotum, Defendant Ullrich was manipulating the scrotum. (R. 30, Page ID# 149). After finding



                                                  3
Case: 2:21-cv-00072-DLB-CJS Doc #: 33 Filed: 11/30/22 Page: 4 of 8 - Page ID#: 259




no evidence of contraband on Plaintiff, Defendant Ullrich stated. “he won the game of ‘I want it

more.’ It’s far enough in him that I can’t find it.” (R. 30, Page ID# 149). Ultimately, Plaintiff was

not arrested, but cited for running a stop sign. (R. 28-2, Page ID# 101).



                                       ARGUMENT

       The right of the people to be secure in their persons, houses, papers, and effects, against

unreasonable searches and seizures, shall not be violated, and no Warrants shall issue, but upon

probable cause. U.S. Const. amend. IV. Searches that intrude into the body implicate greater

constitutional concerns. See Schmerber v. California, 384 U.S. 757, 770 (1966) (“Search warrants

are ordinarily required for searches of dwellings, and, absent an emergency, no less could be

required where intrusions into the human body are concerned.”). A warrantless search of a person's

body implicates the “most personal and deep-rooted expectations of privacy,” Winston v. Lee, 470

U.S. 753, 760 (1985), and is reasonable only if it falls within one of the Fourth Amendment's

exceptions, Missouri v. McNeely, 133 S.Ct. 1552, 1558 (2013). A warrantless search of a person

is reasonable only if it falls within a recognized exception. See, e.g., United States v. Robinson,

414 U.S. 218, 224 (1973).

       This Court and the Sixth Circuit applied the Bell balancing factors to determine whether a

particular search of suspect’s person was unconstitutional:

       Bell mandates that we “consider the scope of the particular intrusion, the manner
       in which it is conducted, the justification for initiating it, and the place in which it
       is conducted” when assessing whether an intrusive search is unreasonable and thus
       violative of the Fourth Amendment. Id. at 559, 99 S.Ct. 1861.

United States v. Jackson, 801 Fed. Appx. 941 (6th Cir. 2020).




                                                  4
Case: 2:21-cv-00072-DLB-CJS Doc #: 33 Filed: 11/30/22 Page: 5 of 8 - Page ID#: 260




       The nature of the intrusion in this case is far more significant than Officer Ullrich’s

intrusion in Jackson. First, the search was performed outside on a street lined with houses and

while Plaintiff surrounded by at least eight other officers including a female officer standing

behind Plaintiff. The search lasted much longer than the search in Jackson, and even by

Defendant Ullrich’s testimony was significantly more intrusive. Like Amaechi, the search of

Plaintiff involved characteristics of both a strip search and body cavity search. See Amaechi v.

West, 237 F.3d 356, 363-64 (4th Cir. 2001). Defendant Ullrich’s search of Plaintiff begins at time

stamp 6:41:06 and continues to time stamp 6:42:08 of his dashcam video. (Exhibit 1- Dashcam

Video). In the course of roughly one minute of hands-on searching, Defendant Ullrich admits to

looking down the back of Plaintiff’s underwear, running his hand up Plaintiff’s butt-crack from

top to bottom, moving Plaintiff’s penis and scrotum to check behind them, and admits to

manipulating Plaintiff’s scrotum. (R. 30, Page ID# 146-150). In addition to Defendant Ullrich,

another officer is close by shining a light to illuminate the Plaintiff’s back-side while Defendant

Ullrich searched. (See Exhibit 1- Dashcam Video) (filed conventionally).

       Unlike Jackson, where Ullrich pulled Jackson’s pants straight out and within five seconds

looked into then pulled out the package of methamphetamine within five seconds, this search took

close to a minute, involved physical manipulation of Plaintiff’s genitalia and buttocks, and

included at least a partial strip search witnessed by other officers. Additionally, Plaintiff was not

under arrest at the time of the search. Unlike Jackson, Plaintiff was not on parole or probation and

was charged only with running a stop sign. While Plaintiff also claims that his rectum was actually

penetrated during the search, he is not arguing that fact in this motion as Defendant Ullrich denies

ever doing so. Even without this fact, Defendant Ullrich’s search of Plaintiff constituted both a

partial strip search and a manual body-cavity search.


                                                 5
Case: 2:21-cv-00072-DLB-CJS Doc #: 33 Filed: 11/30/22 Page: 6 of 8 - Page ID#: 261




        In Sowders, the Sixth Circuit looked to the First Circuit for descriptions of the three types

of nude body searches.


        A “strip search,” though an umbrella term, generally refers to an inspection of a
        naked individual, without any scrutiny of the subject's body cavities. A “visual body
        cavity search” extends to visual inspection of the anal and genital areas. A “manual
        body cavity search” includes some degree of touching or probing of body cavities.
        Blackburn, 771 F.2d at 561 n. 3; cf. Bell, 441 U.S. at 558 n. 39, 99 S.Ct. at 1884 n.
        39 (emphasizing that search of prisoner was a visual one but not a manual one).

Spear v. Sowders, 433 F.3d 576, 634 (6th Cir. 1995). The search conducted by Defendant Ullrich

invaded Plaintiff’s privacy rights beyond that of a visual search. See United States v. Doxey, 833

F.3d 692, 705 (6th Cir. 2016) (stating “There is no question in this case that Trooper Marshall's

flicking a baggie from in-between Doxey's buttocks invaded Doxey's privacy interests beyond that

of a visual search.”).

        Finally, the reason for the search was to locate suspected drugs that Defendant Ullrich

believed that Plaintiff had hidden in his rectum. His reason for this belief was the thirty seconds

that it took for Plaintiff to come to a stop, Plaintiff’s movements during that time inside the car,

Plaintiff name dropping his boss, Plaintiff becoming belligerent, and reaching to his waistband

when he got out of the car. (R. 30- Ullrich Depo. at Page ID#133-37). Beyond these factors,

Defendant Ullrich does not have an independent recollection of any other factors. (Id. at Page ID#

137).

        However, there is video evidence that contradicts the most of these factors. First, the total

amount of time that it took Plaintiff to come to a complete stop was roughly 30 seconds at slow

speed. (Id. at Page ID# 134). This entire period is captured on dash cam, and careful review of

those thirty seconds show little to no movement by either Plaintiff or his passenger. (Exhibit 1-

Dashcam; 6:12:56- 6:13:58). The body worn camera of Defendant Ullrich also belies his statement



                                                  6
Case: 2:21-cv-00072-DLB-CJS Doc #: 33 Filed: 11/30/22 Page: 7 of 8 - Page ID#: 262




that Plaintiff became belligerent. In fact, Plaintiff’s demeanor is generally calm and at some point

after Defendant Ullrich states that he does not know Plaintiff’s boss, Plaintiff simply states in calm

voice, “you don’t gotta be a dick sucker man” after Defendant became aggressive with him. (R.

28-5- Ullrich BWC, Timestamp 6:13:45- 6:18:03). During the entire stop, Plaintiff is calm and

collected and appears readily to be trying to comply and anticipate Defendant’s requests. When

Plaintiff exits the vehicle, he instinctively reaches to make sure his shirt is pulled down and not

riding up his torso. (Exhibit 1- Dash Cam at 6:18:23-6:18:27).

       Here, the video evidence of record establishes that at most Defendant Ullrich’s only

probable cause that Plaintiff had hidden contraband at this point in the stop is that it took roughly

30 seconds to complete the stop. The Supreme Court has held that, where a party's account is

“blatantly contradicted” by video footage, “so that no reasonable jury could believe it,” a court

should not adopt that version of events for summary judgment purposes. Scott v. Harris, 550 U.S.

372, 380 (2007). In total, at the time that Defendant Ullrich performed his highly invasive search

of Plaintiff, he had reports of a marijuana seed and unrecoverable shake being found in the

passenger’s purse and the length of the time it took Plaintiff to stop to bring him to the conclusion

that Plaintiff had hidden illegal drugs in his rectum.

       The scope of the particular intrusion on Plaintiff was severe. He was subjected to at least a

partial strip search by Defendant and at least eight officers in the vicinity and had his genitalia and

but crack fondled for close to a minute while in a residential neighborhood with houses nearby and

after Defendant had blasted his air horn. This was not a search conducted at a police station or at

a jail after arrest. Plaintiff was never arrested but was rather temporarily detained. Ultimately the

justification for the search was the 30 seconds it took Plaintiff to stop and the discovery of an

unrecoverable amount of marijuana shake and a single marijuana seed found in his passenger’s



                                                  7
Case: 2:21-cv-00072-DLB-CJS Doc #: 33 Filed: 11/30/22 Page: 8 of 8 - Page ID#: 263




purse. All of the Bell factors weigh heavily in favor of Plaintiff. Therefore, Plaintiff respectfully

requests that the Court find that the intrusive search conducted by Defendant Ullrich was

objectively unreasonable in violation of the Fourth Amendment and grant summary judgment on

his claims as it relates to these uncontested facts.


                                              Respectfully submitted,


                                              s/ Christopher D. Roach
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on November 30, 2022, a copy of the foregoing notice was served

upon all counsel of record via the Court’s CM/ECF system.



                                                       /s/ Christopher D. Roach
                                                       Christopher D. Roach




                                                   8
